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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION




CESIUMASTRO, INC.,
                                                            Case No. 1:24-cv-00314-RP
       Plaintiff,

               v.

ERIK LUTHER and ANYSIGNAL, INC.,

       Defendants.


    PLAINTIFF CESIUMASTRO, INC.’S NOTICE OF FILING OF UNREDACTED
    RESPONSE IN OPPOSITION TO DEFENDANT ANYSIGNAL, INC.’S MOTION
      FOR A PROTECTIVE ORDER AND EXHIBITS C, F, AND M THERETO

       Pursuant to the Court’s July 18, 2024 Order (ECF No. 55), which granted in part and denied

in part Plaintiff CesiumAstro, Inc.’s (“CesiumAstro’s”) Motion to Seal CesiumAstro’s Response

in Opposition to AnySignal’s Motion for Protective Order and Accompany Exhibits (the “Motion

to Seal,” ECF No. 38), CesiumAstro hereby files an unredacted version of its Response in

Opposition to AnySignal’s Motion for Protective Order (the “Response,” ECF No. 38-1) and

Exhibits C, F, and M thereto (ECF Nos. ECF No. 38-2, 38-5, 38-12). With respect to the Response,

CesiumAstro understands the Court’s Order to require the unredacted filing of any content relating

to which the Court denied the Motion to Seal, while permitting the continued redaction of content

relating to which the Court granted the Motion to Seal. Should the Court or clerk direct otherwise,

CesiumAstro will follow that direction.




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Dated: July 25, 2024                     Respectfully submitted,


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                                         Attorneys for Plaintiff CesiumAstro, Inc.




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on July 25, 2024.

                                                 /s/ Kristin C. Cope
                                                 Kristin C. Cope




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